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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: 21-CV-1776-KMT

UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,

                             Plaintiff,

              v.

SKIHAWK CAPITAL PARTNERS, LLC,
THE CONVERGENCE GROUP, LLC,
CLEMENT M. BORKOWSKI,
SEAN A. HAWKINS, and
JOSEPH P. SCHIFF,

                             Defendants.

                                   SCHEDULING ORDER

                               1. DATE OFCONFERENCE
                            AND APPEARANCES OF COUNSEL

Date of Conference:

Appearances:

                             2. STATEMENT OF JURISDICTION

       This Court has jurisdiction over this action pursuant to Sections 20(b), 20(d), and

22(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §§ 77t(b), 77t(d), and

77v(a)], Sections 21(d), 21(e), and 27 of the Securities Exchange Act of 1934

(“Exchange Act”) [15 U.S.C. §§ 78u(d), 78u(e), and 78aa], and Sections 209(d) and 214

of the Investment Advisers Act of 1940 (“Advisers Act”) [15 U.S.C. §§ 80b-9(d) and 80b-
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14]. Venue lies in this Court pursuant to Section 22(a) of the Securities Act [15 U.S.C. §

77v(a)], Section 27 of the Exchange Act [15 U.S.C. § 78aa], and Section 214 of the

Advisers Act [15 U.S.C. § 80b-14 and 28 U.S.C. § 1391(b)].

                      3. STATEMENT OFCLAIMS AND DEFENSES

   a. Plaintiffs:

       First, from 2016 to present, SkiHawk, Borkowski, and Hawkins, while acting as

the investment adviser to the private fund ASI Healthcare Capital Partners I, L.P. (the

“Healthcare Fund”), engaged in conflicts of interest and breaches of fiduciary duties by

causing (1) the Healthcare Fund to invest in companies that Borkowski and Hawkins

controlled and had an interest in, (2) the Healthcare Fund to pay a company that

Borkowski and Hawkins partially owned to provide services to the fund, and (3) the

companies in which the Healthcare Fund invested to enter into agreements for services

with entities owned and managed by Borkowski and Hawkins, paying those entities

millions of dollars, without disclosing these specific conflicts and making

misrepresentations about the review process for conflicted transactions, in violation of

Section 17(a) of the Securities Act, Section 10(b) of the Exchange Act, Rule 10b-5

thereunder, Sections 206(1), 206(2), and 206(4) of the Advisers Act, and Rule 204(4)-8

thereunder. In the alternative, Borkowski and Hawkins aided and abetted SkiHawk’s

violations of Sections 206(1), 206(2), and 206(4) of the Advisers Act and Rule 206(4)-8

thereunder.




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       Second, from 2016 to 2020, SkiHawk, TCG, Borkowski, and Hawkins made false

and misleading statements to investors in another private fund they managed, the ASI

Capital Income Fund, LLC (the “Income Fund”) by representing hat investors’

investments were secured by UCC-1 financing statements when, in fact, they were not.

SkiHawk thereby violated Sections 17(a)(1) and 17(a)(3) of the Securities Act, Section

10(b) of the Exchange Act, Rule 10b-5 thereunder, Section 206(4) of the Advisers Act,

and Rule 206(4)-8 thereunder, from 2016 through at least 2018; TCG, thereby violated

Section 17(a) of the Securities Act, Section 10(b) of the Exchange Act, Rule 10b-5

thereunder; and Borkowski and Hawkins thereby violated Sections 17(a)(1) and 17(a)(3)

of the Securities Act, Section 10(b) of the Exchange Act, Rule 10b-5 thereunder, and

Section 206(4) of the Advisers Act, and Rule 206(4)-8 thereunder or, in the alternative,

Borkowski and Hawkins aided and abetted SkiHawk’s and TCG’s violations of Section

206(4) of the Advisers Act and Rule 206(4)-8 thereunder.

       Third, Defendants, while serving as investment advisers to the Income Fund and

another private fund, ASI Capital, LLC (“ASI Capital”), breached the fiduciary duty owed

to those funds and made false and misleading statements to investors and prospective

investors by overvaluing two assets held by those funds by millions of dollars, making it

appear that the funds were performing better than they were and allowing them to

charge higher fees. SkiHawk, Borkowski, and Hawkins thereby violated Sections

17(a)(1) and (3) of the Securities Act, Section 10(b) of the Exchange Act, Rule 10b-5

thereunder, Section 206(4) of the Advisers Act, and Rule 206(4)-8 thereunder in

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connection with the overvalued AFT investment in the 2014 and 2015 ASI Capital

financial statements or, in the alternative, Borkowski and Hawkins aided and abetted

SkiHawk’s violations of Section 206(4) of the Advisers Act and Rule 206(4)-8

thereunder. Schiff thereby violated Sections 17(a)(1) and (3) of the Securities Act,

Section 10(b) of the Exchange Act, and Rules 10b-5(a) and (c) thereunder and aided

and abetted SkiHawk’s violations of Section 10(b) and Rule 10b-5(b) of the Exchange

Act and Section 206(4) of the Advisers Act, and Rule 206(4)-8 thereunder.

   b. Defendants:

       The SEC investigation of Defendants arose out of a routine examination of an

entity that is not a party to this case. Defendants cooperated throughout the

investigation by providing the SEC with voluminous records, sitting for sworn interview

testimony, and agreeing to toll certain limitations periods. After three years and

thousands of documents, the SEC filed this action alleging baseless violations of the

federal securities laws based on a mere four discrete factual scenarios. As will be

shown, the SEC fails to allege any colorable claim of any wrongdoing, much less fraud.

       First, the SEC alleges that SkiHawk, Borkowski, and Hawkins made inadequate

disclosure of conflicts of interests and made false or misleading statements about how

conflicts would be managed in securities offering documents provided to investors in the

Healthcare Fund from 2016 to present. The SEC does not allege that Defendants failed

to disclose conflicts of interest; rather, it alleges merely that Defendants’ disclosures were

inadequate. The evidence will establish, however, that (i) the disclosures were adequate;

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(ii) Defendants relied on the advice and counsel of their then-attorneys when making the

disclosures; and (iii) statements regarding management of conflicts of interest were not

false or misleading, especially at the time they were made. These disclosures, thus, fail

to give rise to any violations of the federal securities laws.

       Second, the SEC alleges that, from 2016 to 2020, SkiHawk, TCG, Borkowski,

and Hawkins made false and misleading statements to investors in the Income Fund

that their investments were secured by a UCC-1 financing statement when they were

not. Notably, claims of fraud fail when information contradicting a purportedly false or

misleading statement is public. Whether a UCC-1 financing statement has been

recorded is a matter of public record. Thus, these Defendants could not, and did not,

commit fraud on investors who could confirm the accuracy of statements regarding the

UCC-1 financing statement with publicly available information. Even so, SkiHawk, TCG,

Borkowski, and Hawkins relied on their then-business counsel to record the UCC-1

financing statement in question and believed he had done so. Unbeknownst to them, he

had not. That is not a colorable basis to assert, much less prove, securities law

violations. In any event, no investor attempted to foreclose on the security interest that

is the subject of the UCC-1 financing statement. And, as soon as Defendants were

made aware of their prior counsel’s oversight, a UCC-1 financing statement was

properly recorded. No violations exist relating to the UCC-1 financing statement.

       Third, the SEC alleges that SkiHawk, Mr. Borkowski, Mr. Hawkins, and Mr. Schiff

breached their fiduciary duties and made false and misleading statements to ASI

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Capital based on their purported overvaluation of promissory notes in 2014 and 2015

held by ASI Capital that it purchased from an appliance store. The SEC’s claims in this

regard attempt to contrive fraud or negligence out of purported non-compliance with

GAAP. Indeed, the essence of the SEC’s allegations in this regard is that these

Defendants wrote down the value of the assets (including by 33% percent in the 2015

financial statements), but the write down of that value was not enough. These

threadbare allegations do not give rise to violations of the federal securities laws.

       Finally, the SEC alleges that TCG, Mr. Borkowski, and Mr. Hawkins breached

their fiduciary duties and made false and misleading statements while allegedly acting

as investment advisors to ASI Capital based on their purported overvaluation of a gold

mine asset held by ASI Capital. Specifically, the SEC alleges that these Defendants

reflected in ASI Capital’s 2019 and 2020 financial statements that it owned a higher

percentage of the company that owns the gold mine than was actually owned. The

increased ownership, however, was the result of a plan of reorganization that was, in

essence, a financing plan to avoid ASI Capital’s foreclosure on the owner of the mine,

Caldera Holdings, LLC, for its default on promissory note payments it owed to ASI

Capital. The evidence will establish that the reorganization plan which resulted in ASI

Capital’s increased ownership and, thus value, was authorized under the relevant

operating documents and was agreed to by all parties with the assistance of their

respective counsel. No securities law violations occurred as a result.




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                                 4. UNDISPUTED FACTS

       The parties continue to discuss stipulations.

                            5. COMPUTATION OFDAMAGES

       The SEC does not seek damages. Instead, the SEC seeks (1) permanent

injunctions against each of the Defendants, enjoining them from future violations of the

securities laws; (2) disgorgement of all Defendants’ ill-gotten gains from the unlawful

activity set forth in this Complaint, together with prejudgment interest, as permitted by

Liu v. SEC, 140 S. Ct. 1936 (2020) and Section 6501 of the National Defense

Authorization Act for Fiscal Year 2021, Pub. L. No. 116-283, 134 Stat. 3388 (Jan. 1,

2021), which amended Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)]; (3) third

tier civil penalties against Defendants under Section 20(d) of the Securities Act [15

U.S.C. § 77t(d)], Section 21(d)(3) of the Exchange Act [15 U.S.C. §78u(d)(3)], and

Section 209(e) of the Advisers Act [15 U.S.C. § 80b-9(e)]; and (4) any and all other

relief that the Court may deem appropriate.

       Defendants deny they owe any disgorgement or penalties.

                     6. REPORT OF PRECONFERENCE DISCOVERY
                        AND MEETING UNDER FED. R. CIV. P. 26(f)

   a. Date of Rule 26(f) meeting: August 18, 2021




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   b. Names of each participant and party he/she represented.

   On behalf of Plaintiff U.S. Securities and Exchange Commission:
     Polly A. Atkinson
     Mark L. Williams
     Securities and Exchange Commission
     1961 Stout Street, 17th Floor
     Denver, Colorado 80294
     (303) 844-1000
     Atkinsonp@SEC.gov
     WilliamsML@SEC.gov

   On behalf of all Defendants:
     Paul L. Vorndran
     Blaine K. Bengtson
     JONES & KELLER, P.C.
     1675 Broadway, 26th Floor
     Denver, CO 80202
     pvorndran@joneskeller.com
     bbengtson@joneskeller.com

   c. Statement as to when Rule 26(a)(1) disclosures were made or will be made.

      Initial Rule 26(a)(1) will be made by September 1, 2021.

   d. Proposed changes, if any, in timing or requirement of disclosures under Fed. R. Civ. P.
      26(a)(1).

      None

   e. Statement concerning any agreements to conduct informal discovery:

      Prior to filing its complaint, the SEC conducted a non-public investigation related

to this matter. In connection with that investigation, the SEC obtained documents from

defendants and third parties and sworn investigative testimony. Upon request and

provision of any necessary hard drives or other storage devices, the SEC will make

those documents and testimony transcripts available to defendants. No work product of


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the SEC will be provided. The parties will continue to discuss the possibilities for

informal discovery.

   f. Statement concerning any other agreements or procedures to reduce discovery and
      other litigation costs, including the use of a unified exhibit numbering system.

        The parties will use a unified exhibit numbering system for depositions and will

 discuss telephonic or remote depositions as depositions are scheduled.

   g. Statement as to whether the parties anticipate that their claims or defenses wil involve
      extensive electronically stored information, or that a substantial amount of disclosure or
      discovery will involve information or records maintained in electronic form.

       The SEC expects that the majority of discoverable documents in this matter will

be maintained in electronic form. The SEC has preserved such information since the

inception of its investigation in a searchable database. Upon request and the provision

of any necessary storage devices, the SEC will provide that database to defendants.

   h. Statement summarizing the parties’ discussions regarding the possibilities
      for promptly settling or resolving the case.

        The parties had a productive discussion about the possibilities for a prompt settlement

 and have agreed to have further discussions.

                                           7. CONSENT

        Al parties have consented to the exercise of jurisdiction of a magistrate judge.

                                 8. DISCOVERY LIMITATIONS

   a. Modifications which any party proposes to the presumptive numbers of
      depositions or interrogatories contained in the Federal Rules.

       Presently, the parties agree to proceed using the presumptive limits for the

number of depositions and interrogatories. The parties acknowledge that the

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 complexities of this case may warrant the taking of several depositions beyond the

 presumptive limit, although the parties anticipate additional depositions likely would be

 narrow and limited both in scope and in duration. The parties, thus, reserve the right to

 request leave of court to exceed the presumptive limits and further agree not to oppose

 any such request for leave by another party to the extent the request is reasonable.

    b. Limitations which any party proposes on the length of depositions.

         None at this time.

    c. Limitations which any party proposes on the number of requests for production and/or
       requests for admission.

        The parties agree to the presumptive limits under the rules.

    d. Deadline for serviceof Interrogatories, Requests for Production of Documents and/or
       Admissions:

         February 9, 2022

    e. Other Planning or Discovery Orders

        Defendants anticipate filing a partial motion to dismiss the Complaint pursuant

 to the F.R.C.P. 12(b)(6). Although that motion would not result in dismissal of the

 entire case, Defendants expect it could serve to eliminate some claims or narrow

 some of the discoverable issues. Accordingly, absent an order staying any discovery,

 the parties agree to work together to first focus discovery, to the extent reasonable,

 on aspects of the case that are not at issue in the contemplated motion to dismiss.




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                                   9. CASE PLAN AND SCHEDULE

    a. Deadline for Joinder of Parties and Amendment of Pleadings:

    October 1, 2021

    b. Discovery Cut-off:

    July 29, 2022

    c. Dispositive Motion Deadline:

    August 26, 2022

    d. Expert Witness Disclosure

        1.   The parties shal identify anticipated fields of expert testimony, if any.

        The SEC anticipates retaining experts in the fields of accounting, valuation, and

 the standard of care, duties, and fiduciary duties applicable to an investment adviser and

 may retain any expert necessary to rebut any expert retained by Defendants.

        Defendants anticipate retaining experts to opine on the extent to which clients

 may rely on attorneys regarding disclosures in securities offering documents,

 interpretation of and implementation of organization offering documents, and issues in

 secured transactions. Defendants further anticipate retaining experts necessary to rebut

 any expert retained by Plaintiff, such as experts in the fields of accounting, valuation,

 standards of care, duties, and fiduciary duties.

        2.   Limitations which the parties propose on the use or number of expert witnesses.

 None




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         3.   The parties shal designate al experts and provide opposing counsel and any

 pro se parties with al information specified in Fed. R. Civ. P. 26(a)(2) on or before April 15,

 2022.

         4.   The parties shal designate al rebuttal experts and provide opposing counsel

 and any pro se party with al information specified in Fed. R. Civ. P. 26(a)(2) on or before

 May 27, 2022.

     e. Identification of Persons to Be Deposed:

          Each Defendant

          Persons identified on Defendants’ Rule 26(a) disclosures or through discovery.

          Persons identified on Plaintiffs’ Rule 26(a) disclosures or through discovery.

                            10. DATES FOR FURTHER CONFERENCES

     a. Status conferences wil be held in this case at the following dates and times:

                                                                                                      .

      b. A final pretrial conference will be set subsequent to the dispositive motions deadline.
 .

                                11. OTHER SCHEDULING MATTERS

     a. Identify those discovery or scheduling issues, if any, on which counsel after a good

         faith effort, were unable to reach an agreement: none.

     b. Anticipated length of trial and whether trial is to the court or jury. Fifteen days, to a jury.




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     c. Because the parties have consented to Magistrate Judge jurisdiction, all proceedings

 will be held in the District Court’s facilities at 212 N. Wahsatch Street, Colorado Springs,

 Colorado 80903-3476.

                       12. NOTICE TO COUNSEL AND PRO SE PARTIES

          The parties filing motions for extension of time or continuances must comply with

  D.C.COLO.LCivR 6.1(c) by serving the motion contemporaneously upon the moving

  attorney's client.

          Counsel wil be expected to be familiar and to comply with the Pretrial and Trial

  Procedures or Practice Standards established by the judicial officer presiding over the trial of

  this case.

          With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a).

          Counsel and unrepresented parties are reminded that any change of contact

  information must be reported and filed with the Court pursuant to the applicable local

  rule.

                         13. AMENDMENTS TO SCHEDULING ORDER

  The scheduling order may be altered or amended only upon a showing of good cause.

  DATED at Colorado Springs, Colorado, this 30th day of August, 2021.



                                                          BY THE COURT:



                                                          United States Magistrate Judge

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